                                 United States District Court
                              Eastern District of North Carolina
                                      Office of the Clerk
                                       PO Box 25670
                                Raleigh, North Carolina 27611

 Phone (919) 645-1700                                                              Peter A. Moore Jr.
 Fax (919) 645-1750                                                                    Clerk of Court


March 3, 2025


Nathan E. Weddle #1583896
Albemarle Correctional Institution
P.O. Box 460
Badin, NC 28009

                   Re: Weddle v. Diggs
                       5:25-HC-2055-M

Dear Mr. Weddle,

Our office has received and filed your petition. Your case has been given the above-indicated
docket number. Please use this number when submitting documents for filing in this case.

If your address changes, a notice of your change of address should be sent to the Clerk's office.

If you want a copy of a filing returned to you, a stamped, self-addressed envelope and an extra
copy of the document must be provided.

Upon receipt, your documents are scanned and the scanned copy becomes the official record of
the court. To assist with the best possible scan, please adhere to the following.

     • Use 8 1/2" by 11" white, paper.
     • All documents must include an original signature. The "/s/ typed name" is for electronic
       filers only.
     • Do not highlight your documents. When scanned, highlights look like black lines and
       you cannot read the text below the highlight.
     • Leave a margin. If you write at the very top and very bottom of your paper, most likely,
       some of your handwriting will be cut off when scanned.
     • Number your pages. This helps us keep your papers organized and in the correct order.
     • Do not tape your papers. Tape clogs up the scanner and causes pages to rip.

Thank you for your cooperation.

                                                       Sincerely,
                                                       /s/ Peter A. Moore, Jr.
                                                       Clerk of Court
PAM/rdl
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                    NOTICE TO ALL PARTIES FILING DOCUMENTS
                  IN THE EASTERN DISTRICT OF NORTH CAROLINA
                           REGARDING PRIVACY ISSUES


Pursuant to the Federal Rules of Procedure, in response to the privacy concerns created by
internet access to court documents, the filing party shall not include personal information in any
document filed with the court as follows unless otherwise ordered by the court:

A.     Social Security Numbers and Taxpayer Identification Numbers. If an individual’s
       social security number or taxpayer identification number must be included in a document,
       only the last four digits of that number shall be used. (Example: XXX-XX-9999).

B.     Names of Minor Children. If the involvement of a minor child must be mentioned, only
       the initials of that child shall be used. This includes using the minor’s name in the case
       caption. (Example: John G. Smith should be stated as J.G.S.)

C.     Date of Birth. If an individual’s date of birth must be included in a document, only the
       year should be used. (Example: a birth date of 1/11/2011 should be stated as 2011)

D.     Financial Account Numbers. If financial account numbers are relevant, only the last four
       digits of these numbers shall be used. (Example: XXXXXXXX9999)

Other sensitive personal information that should be considered by the filer for possible removal
or redaction includes:

•       medical records
•       employment history
•       any personal identification number, including a driver’s license number
•       financial information
•       proprietary or trade secret information
•       information regarding an individual’s cooperation with the government
•       information regarding the victim of any criminal activity
•       national security information
•       any other sensitive security information




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